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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
Plaintiff,

VS, Case No. 1:21-CR-00739 JDB
JONAS BUXTON,
Defendant.

WAIVER OF IN-COURT APPEARANCE FOR SENTENCING HEARING AND
CONSENT TO APPEAR BY VIDEO CONFERENCE

1, Jonas Buxton, hereby waive my right, under Federal Ruel of Criminal Procedure 32,
to appear in Court for my Sentencing Hearing and consent to appear by video conference. In
support of this waiver, | understand, acknowledge and state as follows: moves this Court for an
extension of the time in which to file pretrial motions by sixty (60) days. In support of this
motion, Defendant states as follows:

1. The CARES ACT authorizes the use of video conferencing, under certain
circumstances and with consent of the defendant, for various criminal case
events during the course of the COVID-19 emergency. See Coronavirus Aid,
Relief, and Economie Security (CARES) Act, Pub, L. No. 116-136, § 15002,
134 Stat. 281, 527-30 (2020).

2. Under the CARES Act, the Judicial Conference of the United States has
found that emergency conditions due the national emergency declared by
the President with respect to COVID-19 have materially affected and will
materially affect the functioning of the federal courts generally.

3. Consistent with this finding, emergency conditions continue to materially
affect the functioning of this district, as described in the General Order

Regarding Criminal Case Operations currently in effect due to the
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COVID-19 outbreak in this district.

4. Because of these conditions, and pursuant to§ 15002(b)(1) and (2) of the
CARES ACT. the Chief Judge of this district has authorized the use of
video conferencing for certain criminal case events.

5. These events include Sentencing Hearings under Rule 32 of the Federal
Rules of Criminal Procedure that cannot be conducted in person without
seriously jeopardizing public health and safety.

6. | understand that | have the right to appear in court for my Sentencing
Hearing under Rule 32, despite the Order of the Chief Judge.

7. However, in light of the COVID-19 emergency and the Order of the Chief
Judge, | waive my right to appear in court for my Sentencing Hearing for
good cause and consent proceeding with my Sentencing Hearing by video
conference.

8. | make this waiver knowingly, voluntarily, and intelligently and affirm that
no one has threatened or coerced me to waive this right.

9. | have discussed this waiver and my right to appear in court with my

attorney and make this waiver freely.

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Jonas Buxton

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John @7&chleiffarth
Attorney for Defendant
75 W. Lockwood Ave, Ste 250
St. Louis, MO 63119
T: G14) 561-9690
F: (314) 596-0658
E:; john@jcsattorney.com
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CERTIFICATE OF SERVICE

[hereby certify that on November I 1, 2022, the foregoing was electronically filed with the Clerk of
the Court to be served by operation of the Court’s electronic filing system upon all parties in
interest including the Assistant United States Attorney Anthony Franks.

/sf John C. Schleiffarth
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